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                       EXHIBIT 11
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   2             FOR THE DISTRICT OF MASSACHUSETTS              2
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   3                    MDL Docket No. 1629                              RICHARD S. GOLDMAN, MD
   4                    Master File No. 04-10981                4        BY MR. CHAFFIN                               5
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                                                                5        BY MR. CHAFFIN                              214
   6      IN RE: NEURONTIN MARKETING, SALES                              BY MR. FINKELSTEIN                            223
   7           PRACTICES AND PRODUCTS                           6
   8           LIABILITY LITIGATION                                                      EXHIBITS
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   9      ************************************                           NO.     DESCRIPTION                       PAGE
  10      THIS DOCUMENT RELATES TO:                             8        Ex. 1  Documents Bates
  11      RONALD J. BULGER, SR., as Administrator                             000376-25AMD-00001 through
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  12      of the Estate of Susan Bulger, Deceased                       Ex. 2   Certification of pharmacy
  13      ************************************                       10        records, Bates
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  15      VIDEOTAPED DEPOSITION OF RICHARD S. GOLDMAN,                  Ex. 3   Medicine Shoppe records, Bates
  16                                                                 12        000376-10TMS-00001 through
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  18                160 Federal Street                               14        Neuropharmacological Drug
                 Boston, Massachusetts 02110                                  Products, Combined
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                                                                        Ex. 6   Four page document from FDA
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  20                  9:07 AM                                        17
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  21
                                                                     19
  22      Reported By: Maureen O'Connor Pollard, RPR, CLR            20
  23                                                                 21
                                                                     22
          Videographer: William Slater
                                                                     23
  24                                                                 24



                                                            2                                                                     4

   1      APPEARANCES:                                          1            PROCEEDINGS
   2      FOR THE PLAINTIFF:                                    2
   3         BY: ANDREW G. FINKELSTEIN, ESQ.                    3            RICHARD S. GOLDMAN, MD,
   4             FINKELSTEIN & PARTNERS                         4    having been satisfactorily identified by photo
   5             436 Robinson Avenue                            5    identification, being first duly sworn, was
   6             Newburgh, New York 12550                       6    examined and testified as follows:
   7             800-634-1212                                   7            (Whereupon, Goldman Exhibits Number 1
   8             fink33@mac.com                                 8            through 4 were marked for
   9                                                            9            identification.)
  10      FOR THE DEFENDANTS:                                   10           THE VIDEOGRAPHER: My name is Bill
  11         BY: DAVID B. CHAFFIN, ESQ.                         11   Slater of Veritext. Today's date is April 22,
  12             HARE & CHAFFIN                                 12   2008. The time on the video screen is 9:07
  13             160 Federal Street                             13   a.m..
  14             Boston, Massachusetts 02110                    14           This deposition is being held at the
  15             617-330-5000                                   15   offices of Hare & Chaffin located at 160 Federal
  16             dchaffin@hare-chaffin.com                      16   Street, Boston, Massachusetts.
  17                                                            17           The caption in this case is In Re:
  18                                                            18   Neurontin Marketing, Sales Practices and
  19                                                            19   Products Liability Litigation, United States
  20                                                            20   District Court, District of Massachusetts, MDL
  21                                                            21   Docket Number 1629.
  22                                                            22           The name of the witness is Dr. Richard
  23                                                            23   Goldman.
  24                                                            24           At this time will the attorneys




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   1      Q. And what specialties do you have,                 1       A. Yes, there is.
   2   Doctor, if any?                                         2       Q. And what is it?
   3      A. I'm just an internist.                            3       A. For licensure I think, I'm not totally
   4      Q. Not just, but an internist.                       4    aware of the requirements, it's a number of one
   5      A. I'm a general internist.                          5    or 200 hours over the course of the two years
   6      Q. I see.                                            6    that you have to get. So I go to CMEs and
   7      A. I hate the term primary care, but                 7    things like that for them.
   8   that's what the insurance companies label us            8       Q. In that connection, have you taken any
   9   today.                                                  9    courses in suicide?
  10      Q. Are you board certified, Doctor?                  10      A. Not specifically, to my recollection.
  11      A. Currently I'm not.                                11      Q. On anti-convulsants?
  12      Q. Have you been?                                    12      A. Not specifically, to my recollection.
  13      A. Yes, I have.                                      13      Q. On neuropathic pain?
  14      Q. And as an internist?                              14      A. Not specifically, to my recollection.
  15      A. Yes. My certificate, I have to get                15      Q. On chronic pain?
  16   recertified.                                            16      A. Not specifically, to my recollection.
  17      Q. I'm sorry?                                        17      Q. Have you attended any courses on
  18      A. I have to be recertified.                         18   Neurontin or gabapentin in particular?
  19      Q. Are you in the process of --                      19      A. Not specifically.
  20      A. Yeah. I was certified in 1994.                    20      Q. Have you ever attended any seminars,
  21      Q. And that's your only --                           21   dinners, conferences, or anything of that nature
  22      A. Yes.                                              22   concerning Neurontin?
  23      Q. -- certification?                                 23      A. I don't remember specifically that I
  24      A. Mm-hmm.                                           24   went to a particular dinner or conference



                                                          14                                                                    16

   1      Q. Okay. And you're licensed to practice             1    specifically about Neurontin. I cannot say for
   2   in Massachusetts and Vermont?                           2    certain that it was not mentioned in some
   3      A. Yes. I mean my practice is in                     3    conference, but nothing specific to my
   4   Massachusetts. I've had a Vermont license ever          4    recollection.
   5   since my -- I did a week in a clinic at Stratton        5       Q. Are you a member of any medical
   6   Mountain, and you had to get a state license to         6    societies or associations?
   7   practice for one week in the medical clinic             7       A. Right now, no.
   8   there in order to ski.                                  8       Q. Do you subscribe or regularly review
   9      Q. In order to ski?                                  9    any medical journals?
  10      A. So I've had a Vermont license, but                10      A. I get a summary journal called Journal
  11   I've never practiced in the State of Vermont            11   Watch, which is a summary of a number of
  12   other than that one week that I was at Stratton.        12   different, you know -- summarizes some of the
  13      Q. Are you board certified in                        13   leading journals for physicians who are busy, I
  14   epidemiology, Doctor?                                   14   get that via e-mail, and I do review.
  15      A. No.                                               15      Q. Is that one of these types of
  16      Q. Pharmacology?                                     16   publications that's tailored to your practice in
  17      A. No.                                               17   particular?
  18      Q. And do you have any special training              18      A. No.
  19   in either epidemiology or pharmacology?                 19      Q. No?
  20      A. Epidemiology just from my training in             20      A. It's tailored as an internist.
  21   public health. That was part of the curriculum.         21      Q. It will extract articles from other
  22      Q. Is there a continuing legal --                    22   journals?
  23   continuing medical education requirement in             23      A. It basically -- there's one version of
  24   Massachusetts?                                          24   it, to my knowledge, that just kind of




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   1   summarizes the latest things that have come out         1       Q. Have you ever had any such
   2   in the last week or so.                                 2    conversations with -- concerning Neurontin?
   3      Q. And how frequently do you receive                 3       A. Not specifically, to my recollection.
   4   that?                                                   4       Q. Have you ever published any peer
   5      A. I believe once a month, but I'm not               5    reviewed literature or made presentations at any
   6   positive.                                               6    medical meetings?
   7      Q. What textbooks, medical textbooks do              7       A. I have not published any peer review.
   8   you typically refer to, if any?                         8    I have made presentations at medical meetings.
   9      A. That's hard to say. Depends on an                 9       Q. On what subject or subjects?
  10   issue, depends on situation, you know. Probably         10      A. Currently the presentations that I've
  11   Harrison's Textbook of Internal Medicine is             11   made have been on the type of practice that I
  12   probably the one I probably refer to most, but I        12   have on concierge medicine.
  13   don't have a copy of it, if I do look at it I           13      Q. The concierge, for lack of a better
  14   probably do it either on-line or in the library.        14   word, practice?
  15      Q. Do you subscribe to the PDR?                      15      A. Yeah, the type of small personalized,
  16      A. I don't subscribe to it. I think I                16   I've been invited to speak at an number of
  17   receive a free copy of it every year.                   17   places.
  18      Q. And do you review it regularly?                   18      Q. I take it, then, you have not
  19      A. I can't say I review it.                          19   published or spoken about Neurontin?
  20      Q. Pardon me?                                        20      A. I have not.
  21      A. I don't review it. I mean I use it if             21      Q. And have you served on any editorial
  22   I look up something, or if I look up a drug             22   boards of medical journals?
  23   dose. But honestly, I don't use it all that             23      A. No, I have not.
  24   much. It's just not as easy to --                       24      Q. Forgive me if this is a little bit



                                                          18                                                                  20

   1      Q. I'm sorry, it's just?                             1    redundant; could you describe a little bit of
   2      A. It's just not as easy to use.                     2    what your practice was like during the 2003-2004
   3           I use a program called Epocrates which          3    period when you were seeing Mrs. Bulger?
   4   is on my PDA, and there's also an on-line               4       A. Can you be a little more specific?
   5   version that just -- you know, if I need to know        5       Q. What was your practice like generally?
   6   a dosage of a drug or how it's applied or things        6    Was it as you described before, a concierge
   7   like that, it's a quick reference for doctors.          7    practice?
   8   E-P-O-C-R-A-T-E-S, Epocrates.                           8       A. Yes.
   9      Q. E-P-O-C --                                        9       Q. Limited size?
  10      A. -- C-R-A-T-E-S, Epocrates.                        10      A. Limited size. Again, we limit the
  11      Q. Do you consult with other physicians              11   size of the practice to around 300 patients so
  12   about drugs you prescribe?                              12   that we have the ability to give people more
  13      A. I'm sure I do.                                    13   personalized care. We can see them the day
  14      Q. On a regular basis?                               14   of -- the same day, we don't limit the time of
  15      A. Only in the course of if it's                     15   the appointment to five or ten minutes, which is
  16   something new that I'm not used to, I may talk          16   what normal practices seem to do these days, we
  17   to a physician who says, you know, "I use this          17   try not to make people wait, we give them as
  18   particular drug at this particular dose." Or if         18   much time as they need, and that's --
  19   it's an uncommon or it's a treatment that I'm           19      Q. On a typical day during the 2003-2004
  20   not used to or for something that I don't see           20   time frame, how many patients would you see?
  21   all that often, I may call a specialist and             21      A. Each day is different. I'd say it
  22   discuss a particular case, and he'll mention a          22   could range from two or three to six or eight.
  23   drug, and I'll say "how is it prescribed?", and         23      Q. And what was the breakdown by age and
  24   they'll give me the regimen for it.                     24   gender of your patient population, if you know?




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   1   listed, Doctor, the over the counter ones aside,        1    that -- not to take it when they're going to
   2   some of them list serious potential risks on the        2    drive, if they've never taken it before take it
   3   label, right?                                           3    at home, it may make them sleepy, it may make
   4      A. I'm sure they do.                                 4    them confused, depending on the age of the
   5      Q. Would you nevertheless say that you've            5    patient, and it could make them nauseous.
   6   had an overall positive experience with these           6           BY MR. CHAFFIN:
   7   medications?                                            7       Q. Would it be fair to say that when you
   8          MR. FINKELSTEIN: Objection.                      8    prescribe a drug for a patient the first time
   9      A. I can't say specifically. You have to             9    that you would analyze, take into account the
  10   tell me a particular drug.                              10   available information to determine whether the
  11          BY MR. CHAFFIN:                                  11   benefits of the drug outweigh the risk?
  12      Q. How has your overall experience been              12      A. I would say that my practice is
  13   with Vicodin?                                           13   usually that that would be the case. I would
  14          MR. FINKELSTEIN: Objection.                      14   make a decision, I would not put a patient on a
  15      A. Again, depends on the particular                  15   medication unless I felt that the benefit of the
  16   patient and the situation. I usually find it            16   medication outweighed the risk. But I can't
  17   effective for short-term and mild to moderate           17   comment specifically about every drug and every
  18   pain conditions.                                        18   prescription I've ever written.
  19          BY MR. CHAFFIN:                                  19      Q. And what sort of information do you
  20      Q. Your overall experience with                      20   take into account when you make that analysis
  21   Neurontin?                                              21   that you've just described?
  22          MR. FINKELSTEIN: Objection.                      22      A. Twenty plus years of clinical
  23      A. Too broad a question.                             23   experience is probably the number one thing. My
  24          BY MR. CHAFFIN:                                  24   specific knowledge of the drug specifically in



                                                          34                                                                    36

   1      Q. But you continue to prescribe it?                 1    terms of other patients that have been on it and
   2      A. I have patients that are on Neurontin,            2    side effects or problems, benefits, things that
   3   yes.                                                    3    I have read in journals or summaries or things
   4      Q. Do you use informed consent forms,                4    that I have heard from other physicians in terms
   5   Doctor?                                                 5    of benefits, concerns, whatever.
   6      A. Not specifically to my knowledge, no.             6       Q. Anything else?
   7      Q. Would it be fair to say that you don't            7       A. That's all I can think of.
   8   discuss every single potential side effect or           8       Q. One of the things you'll take into
   9   side effect of a drug when you prescribe it for         9    account, though, is the particular circumstances
  10   patients?                                               10   of the patient for whom you're prescribing the
  11      A. I think it's impossible to describe               11   drug, though, correct?
  12   every side effect of every drug with every              12      A. Well, I always make a decision if I'm
  13   patient.                                                13   going to prescribe a drug for a particular
  14      Q. And do you discuss side effects,                  14   patient, it's specific for that particular
  15   though?                                                 15   patient.
  16      A. Yes, I do.                                        16      Q. It's fair to say, though, that every
  17      Q. How do you -- what do you do? What's              17   time you prescribe a drug for a patient, you do
  18   your general practice?                                  18   that only after satisfying yourself that the
  19      A. Again you'd have to ask me                        19   potential benefits outweigh the potential risks?
  20   specifically about a particular drug.                   20      A. When you say "every time," I can't say
  21      Q. Let's try Vicodin.                                21   that. I would hope, and I assume that every
  22      A. I usually --                                      22   time that I prescribe a drug I have made that
  23          MR. FINKELSTEIN: Objection.                      23   assessment, but it's a broad statement.
  24      A. I usually would counsel someone                   24      Q. And if -- in situations where the




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   1   off-label is necessary?                                 1    prescribe a drug for common conditions that is
   2          MR. FINKELSTEIN: Objection.                      2    used for that condition, but I can't say
   3      A. I don't understand what you mean by               3    specifically if it's, you know, on-label or
   4   "necessary."                                            4    off-label.
   5          BY MR. CHAFFIN:                                  5             BY MR. CHAFFIN:
   6      Q. Well, prescribing off-label is a                  6          Q. And when you prescribe a drug, do you
   7   component of your practice, right?                      7    regularly consult the drug labelling or any
   8      A. I think it's a component of most                  8    other information available from FDA?
   9   practices.                                              9          A. Again, you'd have to give me a
  10      Q. And is it a necessary component of                10   specific drug. If it's something that I have
  11   your practice?                                          11   used commonly and frequently in the past that
  12      A. I don't say that it's specific or                 12   I'm comfortable with, I may not specifically
  13   necessary to my particular practice, but it is          13   check on that particular drug at that particular
  14   something that I do in the course of my normal          14   time. But again, it would have to be -- you'd
  15   practice.                                               15   have to ask me specifically about a particular
  16      Q. In your experience, Doctor, do you                16   drug in a particular case.
  17   communicate with other doctors about whether            17         Q. Well, with respect to Neurontin which
  18   particular drugs have worked in particular              18   you prescribe, have you reviewed the labelling
  19   situations, unusual situations perhaps?                 19   on Neurontin?
  20      A. Yes, I do.                                        20            MR. FINKELSTEIN: Objection just to
  21      Q. Would you agree, Doctor, that treating            21   the time frame that you're referring to.
  22   some problems like chronic pain can be a trial          22         A. I don't recall specifically.
  23   and error process?                                      23            BY MR. CHAFFIN:
  24      A. Treating chronic pain is a particular             24         Q. When you were prescribing it for



                                                          42                                                                    44

   1   challenge, and everyone is different how they           1    Mrs. Bulger, did you review the labelling, if
   2   respond to pain, and so treatment protocols,            2    you can recall?
   3   medications, ancillary treatments, auxiliary            3          A. I don't recall specifically reviewing
   4   treatments, all things are usually                      4    it.
   5   individualized.                                         5          Q. Do you tell patients that you're
   6      Q. And, for example, in Mrs. Bulger's                6    prescribing off-label?
   7   situation, you made adjustments to her various          7          A. I don't recall specifically telling
   8   drugs over the course of nearly a year as               8    patients that it is an off-label use. My
   9   circumstances warranted, right?                         9    practice would be if I'm prescribing a drug that
  10      A. I did make adjustments with her                   10   might be used for an alternative reason, I
  11   dosages, timing, frequency, time of day, changes        11   usually would explain to the patient that a
  12   in her medications over the course of that time,        12   particular medication may be used for one
  13   yes.                                                    13   purpose, but we have found some clinical
  14      Q. In your practice, Doctor, have you had            14   evidence or other patients' or whatever
  15   instances in which the off-label use of a drug          15   experience that it has shown benefit in the
  16   was the most effective treatment for a patient?         16   particular condition that I'm prescribing it for
  17      A. I don't recall specifically.                      17   that patient.
  18      Q. What particular drugs do you prescribe            18         Q. Fair to say, Doctor, that in making
  19   off-label, Doctor?                                      19   determinations whether to prescribe something
  20          MR. FINKELSTEIN: Objection.                      20   off-label, you use your medical training and
  21      A. I don't -- I don't recall                         21   judgment to satisfy yourself that this off-label
  22   specifically. Since I don't necessarily when I          22   use is the most appropriate treatment?
  23   prescribe a drug look up and see exactly what           23            MR. FINKELSTEIN: Objection.
  24   the FDA approval is for, it's hard to say. So I         24         A. I make decisions to prescribe




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   1   medications based on my best clinical judgment.         1    I'm sure there have been patients that either it
   2   I can't tell you specifically what information I        2    did not prove efficacious or, you know, didn't
   3   use every time I prescribe a particular drug.           3    seem to help.
   4          BY MR. CHAFFIN:                                  4       Q. Any specific recollection of any
   5      Q. What are the FDA approved indications             5    patients indicating to you that they were
   6   for Neurontin, Doctor?                                  6    experiencing any problems while on Neurontin?
   7      A. I could not comment specifically on               7       A. I don't recall specifically.
   8   what the FDA approval is specifically for               8       Q. When you began prescribing Neurontin
   9   Neurontin.                                              9    for pain, why did you do that?
  10      Q. And you've prescribed it for pain,                10      A. I don't recall specifically the first
  11   correct, I think you said before?                       11   time I prescribed it for pain. My overall
  12      A. I have used Neurontin in patients that            12   general recollection is I had learned or heard
  13   have various pain syndromes, yes.                       13   from either a neurologist or a pain specialist
  14      Q. Have you prescribed it for any other              14   that they had been using Neurontin as an adjunct
  15   conditions?                                             15   to treat whatever, some type of pain condition,
  16      A. I don't recall specifically, but I                16   and that's probably my first recollection of
  17   believe that I have prescribed it or continued          17   using it. I don't recall the case, I don't
  18   it for patients who were on -- had either               18   recall the person, but that's my general
  19   seizure disorders, and I can't recall                   19   recollection of how I learned about it.
  20   specifically, but there may also have been              20      Q. Was your decision, the initial
  21   patients that had been prescribed it by their           21   decision to prescribe Neurontin or any
  22   psychiatrist for various psychiatric mood               22   subsequent decision to prescribe Neurontin
  23   stabilizing reasons that I may have refilled it         23   affected by anything that anyone from Pfizer or
  24   as well. But I have, to my knowledge, never             24   Parke-Davis or Warner-Lambert told you?



                                                          46                                                                    48

   1   initiated it for those conditions.                      1       A. I do not recall specifically anything.
   2      Q. Any recollection of when you first                2       Q. Do you see representatives of drug
   3   prescribed Neurontin?                                   3    companies on occasion?
   4      A. No, I don't.                                      4       A. Yes, I do.
   5      Q. Can you give me a rough estimate of               5       Q. Have you seen representatives of
   6   how many -- for how many patients you've                6    Pfizer or Warner-Lambert or Parke-Davis?
   7   prescribed Neurontin for pain?                          7       A. Ever?
   8      A. No, I can't.                                      8       Q. Ever.
   9      Q. For any of the other conditions you               9       A. Yes.
  10   mentioned?                                              10      Q. Have you discussed Neurontin with any
  11      A. No, I can't.                                      11   representatives of Pfizer, Warner-Lambert or
  12      Q. Based on your experience, was                     12   Parke-Davis, if you can recall?
  13   Neurontin helpful for these various conditions?         13      A. I don't recall specifically any
  14      A. You'd have to ask me on a particular              14   conversations specific to Neurontin.
  15   patient. I would have to say overall I have             15      Q. In the time leading up to 2003, from
  16   found it to be helpful in treating patients with        16   January 1, 2000 to when you began to see
  17   pain syndromes.                                         17   Mrs. Bulger in September of 2003, do you recall,
  18      Q. How about for the other conditions you            18   have any specific memory of any meetings with
  19   mentioned?                                              19   any Pfizer representatives?
  20      A. Again, I can't specifically comment               20      A. That's a pretty general question.
  21   because it's just not my area of expertise.             21      Q. Yes, sorry.
  22      Q. Do you have situations where it didn't            22      A. I don't recall any specific meetings
  23   seem to be helpful, if you can recall?                  23   with any Pfizer representatives during that
  24      A. I don't recall anything specifically.             24   period of time. I'm sure I saw Pfizer




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   1   knowledge of the -- what the drug has specific           1    approval process generally?
   2   FDA approval for.                                        2       A. In general.
   3      Q. Do you know what serotonin is?                     3       Q. And that the FDA analyzes clinical
   4      A. Yes, I do.                                         4    trials that are submitted to them?
   5      Q. What do you know serotonin to be?                  5       A. That's my understanding.
   6      A. Serotonin is a brain chemical that is              6       Q. And in that analysis, they then make
   7   one of the neurotransmitters in the brain that           7    some evaluations?
   8   is speculated to be involved in mood disorders,          8       A. Okay.
   9   feeling good, feeling bad. It's one of the               9       Q. Do you know whether or not the FDA
  10   neurotransmitters of the brain.                          10   conducts their own trials or rely upon the
  11      Q. And what are SSRIs?                                11   pharmaceutical company's trials?
  12      A. SSRIs are selective serotonin                      12      A. I don't know specifically. It's my
  13   re-uptake inhibitors, which is a class of                13   understanding that the trials are submitted to
  14   medication that are supposedly designed to               14   the FDA from the company that's trying to get
  15   augment and increase the levels of serotonin in          15   approval for it. I'm not aware that the FDA
  16   a brain. Common ones are Prozac, Zoloft, Paxil,          16   does their own studies.
  17   but many, but many, there are other drugs that           17          MR. FINKELSTEIN: Could we mark this,
  18   probably have some effect on the serotonin               18   please?
  19   pathway.                                                 19          (Whereupon, Goldman Exhibit Number 5
  20      Q. And by increasing the serotonin in the             20          was marked for identification.)
  21   brain, what is the expected result on mood and           21      A. Do I have to read this?
  22   behavior with respect to SSRIs?                          22          BY MR. FINKELSTEIN:
  23          MR. CHAFFIN: Objection.                           23      Q. No, you don't have to read it, I'm
  24      A. Again, the theory is that if people's              24   going to direct you right to it.



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   1   serotonin levels are increased, they're supposed         1       A. Good.
   2   to feel better.                                          2       Q. Let me just share with you what this
   3          BY MR. FINKELSTEIN:                               3    document is.
   4      Q. Do you know whether or not Neurontin               4           On the cover page you can see it's the
   5   decreases serotonin in the human brain?                  5    Division of Neuropharmacological Drug Products
   6      A. I have no --                                       6    Combined Medical Statistical Review?
   7          MR. CHAFFIN: Objection.                           7       A. Okay.
   8      A. Sorry.                                             8       Q. And I submit to you that it's the
   9          I have no specific knowledge of the               9    division of the FDA's neuropharmacological drug
  10   effect of Neurontin on serotonin.                        10   products, and it's their review --
  11          BY MR. FINKELSTEIN:                               11      A. Okay.
  12      Q. If the company knew that Neurontin                 12      Q. -- by Cynthia McCormick, medical
  13   decreased serotonin in the human brain, is that          13   reviewer of the FDA --
  14   information you would have liked to have known           14      A. Okay.
  15   as a prescribing physician?                              15      Q. -- related to clinical trials that
  16          MR. CHAFFIN: Objection.                           16   were submitted --
  17      A. I like to have any information I can               17      A. Okay.
  18   about drugs and how they work just for my own            18      Q. -- associated with gabapentin.
  19   use.                                                     19      A. Okay.
  20          BY MR. FINKELSTEIN:                               20      Q. I ask you to turn to Page, it's all
  21      Q. When -- do you know when Neurontin was             21   the way at the end, 117.
  22   approved by the FDA?                                     22      A. 117. Okay.
  23      A. No idea.                                           23      Q. Do you see in the third paragraph,
  24      Q. Do you know anything about the FDA                 24   begins "less common but more serious events may




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   1   limit the drug's widespread usefulness"?                 1    that's going to help the patient or not, and so
   2      A. Mm-hmm.                                            2    all information would necessarily be useful.
   3      Q. And in the middle of the paragraph it              3       Q. And does it impact on what you
   4   says "a third is that depression, while it may           4    communicate to patients?
   5   not be an infrequent occurrence in the epileptic         5           MR. CHAFFIN: Objection.
   6   population, may become worse and require                 6       A. Is what?
   7   intervention or lead to suicide as it has                7           BY MR. FINKELSTEIN:
   8   resulted in some suicidal attempts."                     8       Q. When you say you would like to have
   9         Do you read that?                                  9    all information.
  10      A. I see that.                                        10      A. I didn't say all information, I said
  11      Q. Are you aware that there were some                 11   as much as information as possible that is
  12   suicidal attempts during the original clinical           12   relevant and is, you know, germane to using it.
  13   trials of Neurontin?                                     13      Q. If a drug is known to have the
  14      A. I have no --                                       14   potential to increase depression, is that the
  15         MR. CHAFFIN: Objection.                            15   type of information you would like to know?
  16      A. I have no knowledge of that.                       16          MR. CHAFFIN: Objection.
  17         BY MR. FINKELSTEIN:                                17      A. I can't say specifically what kind of
  18      Q. And did you know that as of 1993 the               18   information I'd want to know. But as I said, I
  19   FDA's statement was that the widespread                  19   would want to know relevant significant
  20   usefulness was limited for Neurontin?                    20   information about any drug that I prescribe for
  21         MR. CHAFFIN: Objection.                            21   a patient.
  22      A. I was not aware of that, no.                       22          BY MR. FINKELSTEIN:
  23         BY MR. FINKELSTEIN:                                23      Q. Is a drug's capacity to increase
  24      Q. And is that information that you would             24   depression relevant information to you as a



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   1   have liked to have known as a prescribing                1    physician?
   2   physician?                                               2           MR. CHAFFIN: Objection.
   3         MR. CHAFFIN: Objection.                            3       A. It's relevant, again depending on
   4      A. I can't comment whether that                       4    whether or not it's significant or if it's a
   5   information -- again, I like to have as much             5    rare occurrence.
   6   information as possible in general.                      6           MR. FINKELSTEIN: Can we mark this,
   7         BY MR. FINKELSTEIN:                                7    please?
   8      Q. And would you have liked to have known             8           (Whereupon, Goldman Exhibit Number 6
   9   if there were suicide attempts during clinical           9           was marked for identification.)
  10   trials of Neurontin?                                     10          BY MR. FINKELSTEIN:
  11         MR. CHAFFIN: Objection.                            11      Q. I've just handed you what's marked as
  12      A. Again, I like to have as much                      12   Exhibit 6 for today. Do you recognize what this
  13   information as possible about medication that            13   document is?
  14   I'm prescribing for patients.                            14      A. No. I mean I can read it, but I've
  15         BY MR. FINKELSTEIN:                                15   never specifically seen this before.
  16      Q. And why do you want to have as much                16      Q. Are you aware that the FDA issued an
  17   information as possible?                                 17   alert on January 31st, 2008 related to Neurontin
  18      A. In general, when you prescribe                     18   and ten other anti-epileptic drugs?
  19   medication for patients you like to know, you            19      A. I'm not aware that there was an alert
  20   know, benefits and risks of a particular drug            20   issued on 1/31/08, other than the fact it's in
  21   that are common and things that you need, you            21   front of me.
  22   know, to think about when you're making an               22      Q. Can you put that down for a second?
  23   assessment. As I said, with any medicine I               23   Because I want to ask some preliminary
  24   prescribe you'd determine if it's something              24   questions.




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   1      A. Not specifically.                                  1    Bulger was at high risk of suicide?
   2      Q. Okay. If Neurontin reduces serotonin               2       A. No, I had no reason to believe that
   3   in the human brain, is that significant to you?          3    Susan was at high risk for suicide.
   4           MR. CHAFFIN: Objection.                          4       Q. At any time during your treatment, did
   5      A. I don't know what you mean by                      5    you believe she was at moderate risk of suicide?
   6   significant to me.                                       6       A. No. The issue of suicide never was
   7           BY MR. FINKELSTEIN:                              7    mentioned in any of my notes, I don't recall
   8      Q. Well, as a prescribing physician, is               8    Susan ever talking about thinking about suicide
   9   that important information to know?                      9    other than -- again, not specifically, no.
  10           MR. CHAFFIN: Objection.                          10      Q. Do you recall if you ever asked her
  11      A. Specifically it's something -- what a              11   about suicidal thoughts, plans, intentions?
  12   drug does and how it potentially works, or one           12      A. No, there's no mention that it was
  13   of the mechanisms or one of the things that it           13   either initiated by her or it was something that
  14   does is just one piece of information that I'd           14   I mentioned in my notes to be specifically
  15   want to know in terms of using a particular              15   asking about suicide with her.
  16   drug. But mechanism versus clinical sometimes            16      Q. Do you have an independent memory of
  17   are different.                                           17   Susan?
  18           BY MR. FINKELSTEIN:                              18      A. I'm not sure what you mean.
  19      Q. During your 20 plus years of clinical              19      Q. Well, you've looked at a lot of
  20   experience, has any patient of yours                     20   records, you've spoken about her. I want to
  21   demonstrated suicidality?                                21   know as you sit here today do you have a
  22      A. I can recall probably one or two                   22   picture, can you picture her in your mind, do
  23   patients over the years that have talked about           23   you know who she is, do you remember her as a
  24   it in the course of in an office visit they have         24   patient?



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   1   mentioned, or in the course of treating patients         1       A. Yes, I remember her.
   2   in an emergency room setting it has come up,             2       Q. And --
   3   so --                                                    3       A. But not outside the context of taking
   4      Q. And what course of action, if any, did             4    care of her as a patient, no.
   5   you take for those patients?                             5       Q. No, I understand that.
   6      A. Again, I don't recall specifically. I              6       A. Okay.
   7   know that the patient that mentioned it had no           7       Q. Can you describe her?
   8   plan, they weren't really serious, it was just           8       A. I'm not sure what you want me to say.
   9   something they thought about but really weren't          9    She was a woman who had, you know, she had
  10   serious about.                                           10   chronic pain, she had a lot of issues, she was a
  11           There was one what I remember in the             11   nice person.
  12   emergency room that did have ideas and did have          12      Q. Did you know that she had undergone 13
  13   a plan, but that was a different setting, and            13   surgical procedures for her rheumatoid
  14   there was a psychiatrist that came, and the              14   arthritis?
  15   patient was -- that wasn't specifically one of           15      A. I know she had undergone a lot of
  16   my patients, that was just somebody that I               16   procedures, I did review her records, and I
  17   treated in the course of working in the                  17   remember the first time we talked that she had a
  18   emergency room.                                          18   lot of surgery for her rheumatoid arthritis.
  19      Q. Did you ever assess Susan Bulger at                19      Q. As a physician who practices, I'm
  20   any time during your treatment that she was at           20   going to adopt your term, concierge medicine,
  21   risk for suicide?                                        21   are you a physician who spends more time with
  22      A. I'm not sure what you mean "at risk."              22   patients than the classic primary care
  23      Q. Let me restate that.                               23   physician?
  24           At any time did you believe Susan                24      A. I would say that's a true statement,




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   1   yeah.                                                    1    would have affected anything that I did.
   2      Q. And can you describe concierge                     2       Q. Did you ever diagnose her as being
   3   medicine and how you deliver concierge medicine          3    depressed during your treatment?
   4   as compared to a primary care physician?                 4       A. Again, I don't know that I diagnosed
   5      A. Again, I think other than the way the              5    this. There were clearly mention in the notes
   6   practice is structured, I like to think of               6    that she was depressed and I -- my clinical
   7   concierge medicine as more a throwback to the            7    impression was that there was definitely a
   8   way medicine used to be when doctors had time            8    component of depression in things that Susan was
   9   for their patients and didn't have to rush them          9    experiencing, and it was certainly
  10   out of the office, had time to talk to them and          10   understandable, as I mentioned in my notes,
  11   were available and, you know, were accessible.           11   given everything that was -- she was living with
  12      Q. And is that the type of services that              12   chronic pain every day of her life, and that's
  13   you provided to Susan?                                   13   not easy for people.
  14      A. I like to think that it was, yes.                  14      Q. Did you ever read anything about
  15      Q. Do you know if she had any -- plenty               15   Neurontin in journals or summaries that led you
  16   of time to discuss with you any issues that she          16   to prescribe Neurontin for pain?
  17   was having medically?                                    17      A. I don't recall specifically reading
  18      A. I am not aware that she had any                    18   something that caused me to prescribe it. My
  19   feelings of, you know, not having enough time or         19   recollection is that I -- you know, the reason I
  20   that she felt rushed or anything like that.              20   prescribed it for pain was that a neurologist or
  21   Again, the way we schedule patients is, you              21   some specialist told me or explained to me or
  22   know, we don't book people back to back if we            22   suggested it for a particular patient for a pain
  23   can help it, and so we try to give people as             23   condition. It was not something that I remember
  24   much time as they need in their visits.                  24   reading initially. I can't say that after that



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   1      Q. And as you recall through your                     1    that I didn't read articles or things talking
   2   independent memory or through a reflection of            2    about using it, but I don't think -- that was
   3   any of your records, is there anything to                3    not the reason I used it initially.
   4   indicate that she was not provided the full              4       Q. Do you recall who that neurologist or
   5   concierge services that you provide, in essence          5    other specialist may have been?
   6   unlimited time to you?                                   6       A. No, I have no recollection
   7      A. I wouldn't say unlimited, but no. I                7    specifically of who it was or the situation or
   8   mean she had -- there were no -- there's no              8    the particular patient, but --
   9   mention here of her having had any difficulty            9       Q. Or a time frame?
  10   coming -- getting in for an appointment or               10      A. No.
  11   feeling that she was rushed, or usually if there         11      Q. Fair to say you have no recollection
  12   are any problems there would have been some kind         12   other than that you recall some vague comment by
  13   of note passed back and forth saying the patient         13   a neurologist or a specialist?
  14   was upset about something, or they would have            14      A. I know that's how I started using it,
  15   sent me an e-mail, or I would have -- so there's         15   I remember, you know, in general that on a
  16   no mention that there was any problem.                   16   patient that I may have sent to a neurologist
  17      Q. Was there any indication in your                   17   for a pain condition, either initiated it or
  18   records in the eleven months or so that you              18   told me, you know, we've been using it. Because
  19   treated her that chronic drug use in the early           19   again, when I prescribed it I usually explain to
  20   nineties affected her emotional state when you           20   patients that's how I started using it, that's
  21   treated her?                                             21   why I use it.
  22      A. I have no specific knowledge of                    22      Q. Do you recall any literature articles,
  23   chronic drug use in the early nineties with her,         23   medical journal articles related to Neurontin at
  24   and as a result I have no information that it            24   all that you've read?




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   1      A. Nothing specific, no, sorry.                       1    through these chronologically, if I may.
   2      Q. I'm going to ask you to take a look at             2          Beginning with --
   3   what's marked as Exhibit 2, please (handing).            3       A. Eaton?
   4      A. Okay.                                              4       Q. Yes.
   5      Q. And simply if you'd be kind enough to              5       A. Mm-hmm.
   6   look at Page 2.                                          6       Q. And on October 25, 2003, do you see
   7      A. 0002?                                              7    that there's a -- appears that a prescription,
   8      Q. Yes.                                               8    90 cap Neurontin 30 milligrams?
   9         And the first date of the prescription             9       A. 300 milligrams.
  10   that was filled was October 8th, 2003?                   10      Q. 300 milligrams, I'm sorry.
  11      A. That's what it says, yes.                          11      A. Yep.
  12      Q. And then if you just turn the page, it             12      Q. Would that be a one month supply, or
  13   appears it runs through May 19th, 2004?                  13   something different?
  14      A. That's the last one that's listed                  14      A. Well, if someone were taking it three
  15   here, right.                                             15   times a day or three a day, 90 pills would be
  16      Q. And then if you could just -- I'm                  16   one month's supply.
  17   going to ask you to do the same thing for                17      Q. And November 28th, 2003, do you see 15
  18   Exhibit 3, just so we have a chronology of those         18   cap Neurontin 300-milligram capsules?
  19   dates, and then I'm going to ask you some                19      A. Mm-hmm, yep.
  20   specific questions about those.                          20      Q. Do you recall ever prescribing 15 cap?
  21      A. Okay.                                              21      A. No. I have no recollection of that.
  22      Q. So in Exhibit 2 that you just looked               22   It just means it was filled for 15 caps.
  23   at, the last date was May 19th, '04.                     23      Q. And between November 28th, 2003 and
  24      A. Right.                                             24   March 24, 2004, where it says "Neurontin," do



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   1      Q. In the document in front of you, what              1    you see any other prescriptions for Neurontin in
   2   is the first date that you have?                         2    that time frame?
   3      A. 5/21/04.                                           3       A. No.
   4      Q. And what do those prescriptions carry              4       Q. On March 24th, 2004, what was filled?
   5   on through?                                              5       A. It appears on March 24th there were 90
   6      A. The last one is dated 8/4/04.                      6    capsules of Neurontin 300-milligrams.
   7      Q. Are you aware of Susan Bulger                      7       Q. Which would be how long of a supply?
   8   obtaining prescriptions or having prescriptions          8       A. One month.
   9   filled at any other facility during your care            9       Q. Then on --
  10   from either Eaton Apothecary --                          10      A. Again taking three a day, that would
  11      A. Apothecary --                                      11   be one month's supply, total of three a day.
  12      Q. -- or The Medicine Shoppe between                  12      Q. And on April 19th, 2004?
  13   October 8th, 2003 through that final date of             13      A. Looks like another 90 were filled.
  14   August 4th, 2004?                                        14      Q. Which would be a one month supply?
  15      A. I'm not aware of that, other than we               15      A. Mm-hmm, again at that dosage.
  16   mentioned Walgreen's at some point that she used         16      Q. And then one month later, May 18th,
  17   to get her medicines from.                               17   2004, what was filled?
  18      Q. I think Walgreen's was before.                     18      A. Yes, I see 90 capsules of
  19      A. It may have been again, I don't                    19   300 milligrams on May 15th.
  20   remember the dates.                                      20      Q. May -- can you just read that date
  21         MR. CHAFFIN: Objection.                            21   again?
  22      A. But that's the only other pharmacy.                22      A. 15th, I'm sorry.
  23         BY MR. FINKELSTEIN:                                23      Q. I think it's the 18th.
  24      Q. Okay. So I just want to take you                   24      A. You may be right. Yes, you're right,




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